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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


 COMMITTEE ON THE JUDICIARY,
 UNITED STATES HOUSE OF
 REPRESENTATIVES,

 2138 Rayburn House Office Building
 Washington, D.C. 20515,

                           Plaintiff,
                                                      Case No. 1:24-cv-344
            v.

 ELVIS CHAN, in his official capacity as
 Assistant Special Agent of the Federal
 Bureau of Investigation,

 450 Golden Gate Ave.
 San Francisco, CA 94102,

                          Defendant.



           COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF

       Plaintiff Committee on the Judiciary of the United States House of Representatives

(Judiciary Committee or Committee) brings this civil action against Defendant Elvis Chan to

enforce a duly authorized, issued, and served Congressional subpoena to Chan (Subpoena 1),

attached as Exhibit A. The Bipartisan Legal Advisory Group (BLAG), on behalf of the United

States House of Representatives (House), has expressly authorized this lawsuit. The Judiciary

Committee alleges as follows:




       1
        The Committee issued two subpoenas to Chan. The only difference was the return date.
To avoid any confusion, Subpoena refers to both subpoenas.



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                                        INTRODUCTION

       1.      After public reporting revealed that the Executive Branch was coercing and

colluding with technology companies and other intermediaries to censor online speech, the

Judiciary Committee launched an investigation into how and to what extent agencies like the

Federal Bureau of Investigation (FBI) were working to interfere with the marketplace of ideas

and suppress the voices of the American people. The ultimate purpose of this investigation is to

develop legislative reforms, such as new statutory limits on the Executive Branch’s ability to

work with social media companies and other entities to restrict the circulation of content online

and deplatform users. And to do so, the Committee must first fully understand the nature of the

problem.

       2.      The Committee quickly identified Chan as a pivotal figure in its investigation.

Publicly available information indicated, and information uncovered during the Committee’s

investigation to date has confirmed, that Chan was at the heart of the FBI’s interactions with

technology companies, including Facebook and Twitter. Indeed, Chan described himself as “one

of the primary people with pass-through information,”2 information that the companies used

when deciding whether to restrict online content.

       3.      After Chan failed to voluntarily appear before the Committee, it subpoenaed him

to testify at a deposition. But Chan defied the Subpoena. Chan’s employer, the U.S. Department

of Justice (DOJ), instructed him not to appear, and he complied with that directive. By refusing

to comply with the Subpoena, Chan is frustrating the Committee’s ability to conduct oversight—

a critical part of the legislative power that the Constitution vests in Congress.



       2
        See Proposed Ex. A to Motion for Leave to File Excess Pages at 105, Missouri v. Biden,
No. 3:22-cv-01213-TAD-KDM (W.D. La. Dec. 5, 2022), ECF No. 144-2 (Chan Dep.).



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       4.        Neither Chan nor DOJ has disputed that the Committee’s investigation is lawful.

Nor have they disputed that Congress has the authority to pass legislation addressing the topic of

the Committee’s investigation. Indeed, multiple other Executive Branch officials have appeared

before the Committee as part of its inquiry. Rather, DOJ has directed Chan to defy the

Committee’s Subpoena only because, under House Rules, agency counsel (a lawyer who

represents the Executive Branch’s interests, not Chan’s) cannot attend. Despite the

Constitution’s clear command that each chamber of Congress “may determine the Rules of its

Proceedings,”3 DOJ contends that a subpoena compelling testimony about an agency employee’s

official duties, without agency counsel present, is unconstitutional and thus unenforceable.

       5.        The House’s legal authority and rationale for adopting the rule at issue are

straightforward. A rule that dictates who may attend committee depositions is a rule that governs

House proceedings and thus easily falls within its rulemaking authority under the Constitution.

The House has decided to exercise its constitutional authority in this manner because it protects

the integrity of its investigations: a witness may be less willing to share information that reflects

poorly on his employing agency if that agency’s lawyer is sitting right next to him.

       6.        The deposition rule is not new. Indeed, the House has adopted variations of this

rule since the 1980s, when it first began delegating deposition authority to select committees and

task forces. And to date, more than 175 Executive Branch employees have appeared for

depositions without agency counsel.

       7.        Even though the Committee believes that DOJ’s current view of the deposition

rule has no legal merit, the Committee offered accommodations to alleviate DOJ’s concerns and

avoid the need for litigation. The Committee would allow agency counsel to be present just


       3
           U.S. Const. art. I, § 5, cl. 2.



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outside the room where the deposition would be held, and it offered to recess the deposition

anytime Chan or his personal counsel wished to confer with agency counsel.

         8.     DOJ rejected those reasonable accommodations, and Chan has refused to appear

for a deposition. Chan’s failure to comply with the Subpoena is impeding the Committee’s

investigation into a matter of significant public concern, and the Committee asks this Court to

compel him to appear forthwith.

                                 JURISDICTION AND VENUE

         9.     This Court has jurisdiction pursuant to 28 U.S.C. § 1331. This case arises under

Article I of the Constitution of the United States and implicates Article I, Section 1, which vests

“[a]ll legislative Powers” in the Congress of the United States.

         10.    This Court has authority to issue a declaratory judgment and order other just and

proper relief pursuant to 28 U.S.C. §§ 2201(a) and 2202.

         11.    Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b)(2) and 1391(e)(1).

                                            PARTIES

         12.    Plaintiff Committee on the Judiciary of the United States House of

Representatives is a standing committee of the House that, among other duties, conducts

oversight of DOJ. The FBI is a DOJ component.

         13.    Defendant Elvis Chan serves as Assistant Special Agent in Charge of the Cyber

Branch for the San Francisco Division of the FBI and has worked for the FBI for over seventeen

years.




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                                             ALLEGATIONS

I.     The Committee’s constitutional authority to conduct investigations and to issue
       subpoenas to advance its investigations

       14.       Article I of the Constitution vests Congress with “[a]ll legislative Powers.” 4

Those powers include the authority to investigate matters relating to subjects within its broad

legislative purview; conduct oversight of Executive Branch agencies; examine whether

Executive Branch agencies are faithfully, effectively, and efficiently executing the laws; and

determine whether changes to federal law are necessary and proper. For nearly a century, the

Supreme Court has recognized that the Constitution vests the House with “the power of

inquiry—with process to enforce it”—commensurate with the House’s Article I legislative

authority to investigate any subject on which “legislation could be had.” 5

       15.       The Constitution commits to each chamber of Congress the authority to

“determine the Rules of its Proceedings.” 6 Pursuant to this authority, the 118th House of

Representatives adopted the Rules of the House of Representatives (House Rules) to govern

itself during the current Congress.7 The House Rules establish various standing committees,

including the Judiciary Committee, and delegate to each committee “jurisdiction and related

functions.”8



       4
           U.S. Const. art. I, § 1, cl. 1.
       5
           McGrain v. Daugherty, 273 U.S. 135, 174, 177 (1927).
       6
           U.S. Const. art. I, § 5, cl. 2.
       7
          See H. Res. 5, 118th Cong. § 1 (2023) (adopting House Rules for the 118th Congress),
https://perma.cc/28AM-XD4R; see also House Rules, 118th Congress (Jan. 10, 2023),
https://perma.cc/3UX4-2YG5.
       8
           House Rule X.1.



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       16.       The Judiciary Committee’s legislative and oversight jurisdiction includes, among

other subjects, civil liberties,9 including, for example, statutes that impose liability on federal

officials who violate a person’s constitutional rights. 10 The Judiciary Committee exercises

jurisdiction (among other matters) over legislation relating to civil liberties, including legislation

that imposes liability on government officials who violate First Amendment rights. 11 The House

Rules further mandate that “[a]ll bills, resolutions, and other matters relating to” subjects within

the Judiciary Committee’s jurisdiction be referred to the Judiciary Committee for its

consideration.12

       17.       As a standing committee, the Judiciary Committee also has “general oversight

responsibilities,” including with respect to the “operation of Federal agencies and entities” within

its areas of jurisdiction.13 As such, the Judiciary Committee exercises oversight of the structure

and functions of DOJ and the FBI.14 Among other responsibilities, the Judiciary Committee is

charged with reviewing “on a continuing basis … the application, administration, execution, and




       9
           House Rule X.1(l)(5).
       10
            See, e.g., 42 U.S.C. § 1983.
       11
          See, e.g., H.R. 4848, 118th Cong. (2023) (the “Censorship Accountability Act”); 169
Cong. Rec. H3948 (daily ed. July 25, 2023) (referring H.R. 4848, the “Censorship Accountability
Act,” to the Judiciary Committee), https://perma.cc/6T85-JVEA.
       12
            House Rule X.1.
       13
            House Rule X.2(a), (b)(1)(B).
       14
           See, e.g., Oversight of DOJ Before the H. Comm. on the Judiciary, 118th Cong. (Sept.
20, 2023) (oversight hearing conducted with Attorney General Merrick Garland),
https://perma.cc/3UQU-WW3H; Oversight of the FBI Before the H. Comm. on the Judiciary,
118th Cong. (July 12, 2023) (oversight hearing with FBI Director Christopher Wray),
https://perma.cc/B9UU-3P2J.



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effectiveness of laws and programs” within its jurisdiction. 15 The Judiciary Committee must

determine whether such laws are being “implemented and carried out in accordance with the

intent of Congress” and if there are “any conditions or circumstances that may indicate the

necessity or desirability of enacting new or additional legislation.” 16

        18.       The House Rules empower any standing committee, including the Judiciary

Committee, to “conduct at any time such investigations and studies as it considers necessary or

appropriate in the exercise of its responsibilities” over matters within its jurisdiction. 17 To aid

these inquiries, the Judiciary Committee, like all standing committees, is authorized to issue

subpoenas for testimony and documents. 18

        19.       For the 118th Congress, the House also established a select investigative

subcommittee of the Judiciary Committee called the Select Subcommittee on the Weaponization

of the Federal Government (Select Subcommittee). 19 Among other things, the Select

Subcommittee “is authorized and directed” to investigate “any other issues related to the

violation of the civil liberties of citizens of the United States.” 20




        15
             House Rule X.2(b)(1)(A).
        16
             House Rule X.2(b)(1)(C).
        17
             House Rule XI.1(b)(1).
        18
           See House Rule XI.2(m)(1)(B), (3)(A)(i); see also Rule IV(a), Rules of the Committee
on the Judiciary of the U.S. House of Representatives, 118th Cong. (2023) (Judiciary Committee
Rules) (“A subpoena may be authorized and issued by the Chair, in accordance with clause 2(m)
of rule XI of the House of Representatives, in the conduct of any investigation or activity or
series of investigations or activities within the jurisdiction of the Committee, following
consultation with the Ranking Minority Member.”), https://perma.cc/6UUS-LYEH.
        19
             H. Res. 12, 118th Cong. § 1(a)(1) (2023).
        20
             Id. § 1(b)(1)(E).



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       20.       In sum, the Judiciary Committee has constitutional and other legal authority to

investigate the FBI’s coordination with social media and other technology companies regarding

online speech and to develop legislative reforms to address that topic.

II.    The Judiciary Committee’s investigation into whether and how Executive Branch
       agencies worked with technology companies to censor speech online

       21.       Before the 118th Congress began in January 2023, publicly available

information—including contemporaneous private emails—demonstrated that Executive Branch

agencies and technology companies shared information with each other and regularly met to

discuss, among other things, whether certain content should be viewable on the companies’

online platforms. Much of this information surfaced through litigation, Missouri v. Biden,21 or

journalism that was based on internal Twitter communications (the Twitter files).

       A.        Publicly available information details coordination between the Executive
                 Branch—including the FBI and Chan—and technology companies

       22.       In May 2022, Missouri and Louisiana sued various Executive Branch officials in

Missouri v. Biden.22 The complaint alleged that “senior government officials in the Executive

Branch have moved into a phase of open collusion with social-media companies to suppress

disfavored speakers, viewpoints, and content on social-media platforms.” 23 It further alleged,

among other things, that Executive Branch officials had regularly met with representatives from

social media companies to discuss how to suppress certain content that appeared on the




       21
            No. 3:22-cv-01213-TAD-KDM (W.D. La.).
       22
         See generally Compl., Missouri v. Biden, No. 3:22-cv-01213-TAD-KDM (W.D. La.
May 5, 2022), ECF No. 1.
       23
            Id. ¶ 3.



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companies’ platforms.24 The Executive Branch officials’ actions, according to the complaint,

violated the First Amendment.25 In early October 2022, the plaintiffs in that case filed a second

amended complaint that named the FBI and Chan as defendants. 26 It identified the FBI’s Foreign

Influence Task Force (FBI Task Force) as an entity involved in coordinating with social media

companies to censor speech.27

       23.       The second amended complaint in Missouri v. Biden made several allegations

about Chan’s involvement in censorship-related issues, based on documents Meta Platforms

(Facebook’s parent company) provided to plaintiffs pursuant to a third-party subpoena. 28

       24.       For example, the second amended complaint alleged that Chan, a supervisory

agent in the FBI’s San Francisco Division—the office with the responsibility for the geographic

territory where several major social media platforms and technology companies are




       24
            See, e.g., id. ¶¶ 178-82, 199-200, 208.
       25
            See id. ¶¶ 242-59.
       26
           See Second Amended Compl. ¶¶ 59, 61, Missouri v. Biden, No. 3:22-cv-01213-TAD-
KDM (W.D. La. Oct. 6, 2022), ECF No. 84. Before the plaintiffs filed their second amended
complaint, in August 2022, the Wall Street Journal published an opinion piece that discussed
private Twitter communications that showed Twitter banned an account in August 2022 after
“clearly [being] under White House pressure to do so.” See Editorial Board, The White House
and Twitter Censorship, Wall St. J. (Aug. 12, 2022, 6:38 PM), https://perma.cc/NWZ9-4JK7.
Roughly a month later, the Wall Street Journal published another opinion piece that analyzed
internal Facebook documents that were produced during discovery in Missouri v. Biden. See
Editorial Board, How the Feds Coordinate With Facebook on Censorship, Wall St. J. (Sept. 9,
2022, 7:05 PM), https://perma.cc/P2T4-7SGK (describing emails between Executive Branch
officials and Facebook related to what content Facebook would allow on its platform).
       27
         See Second Amended Compl. ¶¶ 61, 384-85. The Task Force is charged with impeding
“malign foreign-influence campaigns.” See Chan Dep., supra note 2, at 36.
       28
            See Second Amended Compl. ¶ 384.



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headquartered—“performed a critical role in communicating with social-media platforms on

behalf of the FBI [about] censorship and suppression of speech on social media.” 29

       25.        The second amended complaint quoted from an interview that Chan gave on a

podcast: “we talked with all of these entities I mentioned regularly, at least on a monthly basis.

And right before the election, probably on a weekly basis. If they were seeing anything unusual,

if we were seeing anything unusual, sharing intelligence with technology companies, with social

media companies, so that they could protect their own platforms. That’s where the FBI and the

US government can actually help companies.” 30

       26.        The second amended complaint, based on documents that LinkedIn produced,

alleged that Chan “repeatedly organiz[ed] meetings with representatives of LinkedIn” and other

social media companies.31

       27.        A few weeks after the filing of the second amended complaint, in late October

2022, The Intercept published an article (based on its review of “[y]ears of internal [Executive

Branch agency] memos, emails, and documents”) about the Executive Branch’s effort “to

influence tech platforms” “to curb speech it considers dangerous.” 32 The article, like the second

amended complaint, noted the FBI’s involvement in these efforts and mentioned Chan by

name.33


       29
            See id. ¶¶ 61, 386.
       30
            Id. ¶ 389.
       31
            Id. ¶ 392.
       32
          See Ken Klippenstein & Lee Fang, Truth Cops: Leaked Documents Outline DHS’s
Plans to Police Disinformation, Intercept (Oct. 31, 2022, 5:00 AM), https://perma.cc/U3NR-
ZBPE.
       33
            Id.



                                                  10
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        28.      Roughly one month later, in December 2022, a series of installments called the

Twitter files were posted on Twitter.34 The installments were “based upon thousands of internal

documents obtained by sources at Twitter.” 35 Like the Missouri v. Biden second amended

complaint and The Intercept article, the Twitter files documented the FBI’s interactions with

technology companies. Indeed, one of the installments was named “The Twitter Files, Part Six,

TWITTER, THE FBI SUBSIDIARY.”36 According to the person who reviewed Twitter’s

internal files, “Twitter’s contact with the FBI was constant and pervasive, as if it were a

subsidiary.”37

        29.      The Twitter files installments included screenshots of several emails between

Chan and Twitter representatives.

        30.      One installment describes an email from Chan to a Twitter executive where “Chan

arranges for temporary Top Secret security clearances for Twitter executives so that the FBI can

share information about threats to the upcoming [2020] elections.” 38




        34
             See Matt Taibbi (@mtaibbi), Twitter (Dec. 2, 2022, 6:41 PM), https://perma.cc/KMY2-
X244.
        35
             Matt Taibbi (@mtaibbi), Twitter (Dec. 2, 2022, 6:39 PM), https://perma.cc/LV5D-
WGW5.
        36
             See Matt Taibbi (@mtaibbi), Twitter (Dec. 16, 2022, 4:00 PM), https://perma.cc/2HFY-
XET8.
        37
           See Matt Taibbi (@mtaibbi), Twitter (Dec. 16, 2022, 4:00 PM),
https://perma.cc/H4WK-R8CN.
        38
           Michael Shellenberger (@shellenberger), Twitter (Dec. 19, 2022, 12:25 PM),
https://perma.cc/B2LX-CB8J.



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        31.        Another shows an email where Chan described “an encrypted messaging

network” that would allow “employees from FBI & Twitter [to] communicate.” 39

        32.        Yet another reveals that Chan sent Twitter representatives a list of Twitter

accounts that the FBI believed were “disseminating false information.” 40

        33.        Around the same time, Chan was deposed in Missouri v. Biden, and the full

deposition transcript was made publicly available in December 2022. 41 In his deposition, Chan

described his role as an FBI employee sharing information and working with social media

companies as they determined whether certain content should be viewable on the companies’

respective platforms.42

        34.        In the midst of this public reporting, which took place near the end of the 117th

Congress, then-Ranking Member Jim Jordan and other Republican Members of the Judiciary

Committee wrote to the FBI.43 The letter explained that the Committee would “require prompt

testimony from FBI employees”—including Chan—“early in the 118th Congress” “to advance

[its] oversight.”44


        39
           Michael Shellenberger (@shellenberger), Twitter (Dec. 19, 2022, 12:56 PM),
https://perma.cc/72PT-BYZB.
        40
             Matt Taibbi (@mtaibbi), Twitter (Dec. 16, 2022, 4:00 PM), https://perma.cc/24X9-
KPRF.
        41
           See Missouri, Louisiana release full transcript of deposition with FBI Agent Elvis Chan
regarding collusion with social media companies, KTTN News (Dec. 7, 2022),
https://perma.cc/3H7S-LDGL.
        42
             We explain this in more detail in paragraphs 44 through 53.
        43
          See generally Letter from Rep. Jim Jordan, Ranking Member, H. Comm. on the
Judiciary, et al., to Christopher A. Wray, Director, FBI (Nov. 18, 2022), https://perma.cc/9W3B-
BPW6.
        44
             Id. at 1.



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        B.         The Committee’s investigation of the threat to Americans’ civil liberties
                   posed by government censorship

        35.        During the 118th Congress, the Committee has been investigating “the extent to

which the Executive Branch has coerced and colluded with companies and other intermediaries

to censor speech.”45

        36.        Under House Rules, the Committee has legislative and oversight jurisdiction over

civil liberties,46 and, as the Committee has explained, “a government-approved or -facilitated

censorship regime is a grave threat to the First Amendment and American civil liberties.” 47

According to the Committee, “[t]he entanglement of Executive Branch agencies, third-party

organizations, and technology companies to moderate speech-related content online raises

questions about the extent to which these actions affected the civil liberties of American

citizens.”48

        37.        During its investigation, the Committee, among other steps, has reviewed

hundreds of thousands of pages of documents produced by the Executive Branch and by

technology companies, interviewed roughly thirty witnesses, and held four oversight hearings. 49


        45
         See generally Letter from Rep. Jim Jordan, Chairman, H. Comm. on the Judiciary, to
Dr. Marc Tessier-Lavigne, President, Stanford Univ., at 1 (Mar. 10, 2023) (attached as Ex. B).
        46
             House Rule X.1(l)(5).
        47
             See Ex. B at 1.
        48
             Id. at 2.
        49
          Hearing on the Weaponization of the Federal Government Before the H. Select
Subcomm. on the Weaponization of the Federal Government, 118th Cong. (Nov. 30, 2023)
(noting the hearing “will examine the federal government’s involvement in social media
censorship”), https://perma.cc/ZVL5-USCU; Hearing on the Weaponization of the Federal
Government Before the H. Select Subcomm. on the Weaponization of the Federal Government,
118th Cong. (July 20, 2023) (noting “[t]he hearing will examine the federal government’s role in
censoring Americans, the Missouri v. Biden case, and Big Tech’s collusion with out-of-control



                                                  13
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       38.     The Committee has subpoenaed communications between the Executive Branch

and Alphabet (the parent company of Google), Amazon, Apple, Meta Platforms, and Microsoft,

as well as these companies’ internal communications and their communications with third parties

that may have also been working with the Executive Branch. 50

       39.     The Committee has interviewed Executive Branch officials, including Laura

Dehmlow, the Section Chief of the FBI’s Task Force, who, like Chan, regularly met with

technology companies to discuss content moderation.51




government agencies to silence speech”), https://perma.cc/E3X8-9RRY; Hearing on the
Weaponization of the Federal Government Before the H. Select Subcomm. on the Weaponization
of the Federal Government, 118th Cong. (Mar. 30, 2023) (noting “[t]he hearing will examine the
Missouri v. Biden case challenging the administration’s violation of the First Amendment by
directing social media companies to censor and suppress Americans’ free speech”),
https://perma.cc/82MH-QVCQ; Hearing on the Weaponization of the Federal Government on
the Twitter Files Before the H. Select Subcomm. on the Weaponization of the Federal
Government, 118th Cong. (Mar. 9, 2023), https://perma.cc/6W6U-9R3V.
       50
           See generally Letter from Rep. Jim Jordan, Chairman, H. Comm. on the Judiciary, to
Sundar Pichai, CEO, Alphabet (Feb. 15, 2023), https://perma.cc/5NZH-XRHW; Letter from Rep.
Jim Jordan, Chairman, H. Comm. on the Judiciary, to Andy Jassy, CEO, Amazon (Feb. 15,
2023), https://perma.cc/ZC5Q-WZSG; Letter from Rep. Jim Jordan, Chairman, H. Comm. on the
Judiciary, to Timothy Cook, CEO, Apple (Feb. 15, 2023), https://perma.cc/MLL2-9U4R; Letter
from Rep. Jim Jordan, Chairman, H. Comm. on the Judiciary, to Mark Zuckerberg, CEO, Meta
Platforms (Feb. 15, 2023), https://perma.cc/6L9H-GEW9; Letter from Rep. Jim Jordan,
Chairman, H. Comm. on the Judiciary, to Satya Nadella, CEO, Microsoft (Feb. 15, 2023),
https://perma.cc/6S5U-F499.
       51
         See Letter from Rep. Jim Jordan, Chairman, H. Comm. on the Judiciary, to Christopher
A. Wray, Director, FBI, at 1 (July 20, 2023), https://perma.cc/68HL-QJTN (July 20, 2023 Letter).




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       40.       The Committee has also interviewed employees of various technology companies,

including Yoel Roth, the former head of Twitter’s trust and safety department, 52 and “a senior

employee on Google’s cybersecurity team.”53

       41.       As part of its investigation, the Committee is considering whether certain

legislative reforms are needed to address this problem. For example, the Committee is

considering “new statutory limits on the Executive Branch’s ability to work with technology

companies to restrict the circulation of content and deplatform users.” 54 It is also evaluating

whether it should “amend[] liability protections,” such as 47 U.S.C. § 230(c)(2)(B), “for

companies that create or disseminate censorship tools.” 55

       42.       But as the Committee itself has recognized, to decide whether legislative reforms

are needed, and to determine how best to craft those reforms, “the Committee … must first

understand how and to what extent the Executive Branch coerced and colluded with companies




       52
         See generally Letter from Rep. Jim Jordan, Chairman, H. Comm. on the Judiciary, to
Yoel Roth, Former Head of Trust & Safety, Twitter (Aug. 18, 2023), https://perma.cc/X9B3-
VAQ3.
       53
           Staff of H. Comm. on the Judiciary & Select Subcomm. on the Weaponization of the
Federal Government, 118th Cong., Rep. on The FBI’s Collaboration with a Compromised
Ukrainian Intelligence Agency to Censor American Speech 19 (Comm. Print 2023),
https://perma.cc/G8YG-9NX3; see also Annie Grayer & Donie O’Sullivan, Jim Jordan scraps
committee contempt vote on Mark Zuckerberg, CNN (July 27, 2023, 2:53 PM),
https://perma.cc/66RS-ATM4 (noting that Facebook “has allowed 10 employees to do
transcribed interviews” with the Committee).
       54
       See Letter from Rep. Jim Jordan, Chairman, H. Comm. on the Judiciary, to Ed Bice,
CEO, Meedan, at 2 (Aug. 15, 2023) (attached as Ex. C).
       55
            See id.




                                                 15
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and other intermediaries to censor speech.” 56 As the Supreme Court has explained, “[a]

legislative body cannot legislate wisely or effectively in the absence of information respecting

the conditions which the legislation is intended to affect or change.” 57

       43.        To inform the Committee’s understanding of how the Executive Branch has

worked with technology companies to censor speech, “[i]t is necessary for Congress to gauge the

extent to which FBI agents coerced, pressured, worked with, or relied upon social media and

other tech companies to censor speech.” 58 Thus, “[t]he scope of the Committee’s investigation

includes understanding the extent and nature of the FBI’s involvement in this censorship.” 59

Chan—who was at the center of the FBI interactions with these companies—possesses

information that is important to the Committee’s investigation.

       C.         Chan has firsthand knowledge—based on personal experience—that is
                  critical to the Committee’s investigation

       44.        Many of the technology companies that the FBI interacted with, including

Facebook, Twitter, and Google, are headquartered in the San Francisco area, 60 the territory for




       56
            See id.
       57
         Eastland v. U.S. Servicemen’s Fund, 421 U.S. 491, 504 (1975) (alteration in original)
(quoting McGrain, 273 U.S. at 175).
       58
           See Letter from Rep. Jim Jordan, Chairman, H. Comm. on the Judiciary, to Elvis Chan,
Assistant Special Agent in Charge, S.F. Field Off., FBI, at 2 (Sept. 15, 2023),
https://perma.cc/XGF8-EE5B (Sept. 15, 2023 Letter).
       59
            Id.
       60
          Facebook Headquarters, Facebook (last visited Feb. 3, 2024), https://perma.cc/F3YV-
PP6R; Rebecca Carballo, ‘X’ on Twitter’s Headquarters Faces Investigation Over Permit
Violations, N.Y. Times (July 30, 2023), https://perma.cc/CVQ4-P4G7; About, Google (last
visited Feb. 4, 2024), https://perma.cc/6QCG-R4PH.



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which Chan is responsible as part of his official FBI duties. 61 Chan was thus “responsible for

maintaining the day-to-day relationships with th[ose] companies” 62 and “was one of the primary

people communicating with social-media platforms about disinformation on behalf of the FBI.” 63

During his deposition in Missouri v. Biden, Chan described how the FBI worked with these

various companies.

       45.       Chan explained that the FBI had shared information, including “strategic-level

information as well as tactical information,” with private technology companies. 64 The

information sharing was done through “industry working group” meetings. 65

       46.       Chan has personal knowledge of both the logistics and the substance of these

meetings. Indeed, he participated in internal preparatory meetings and attended the working

group meetings themselves.66 In fact, he was the second-highest ranking FBI attendee. 67 To use

his words, Chan described himself as “one of the primary people with pass-through




       61
            See Chan Dep., supra note 2, at 24-25.
       62
            Id. at 24-25.
       63
          Missouri v. Biden, No. 3:22-CV-01213, 2023 WL 4335270, at *27 (W.D. La. July 4,
2023), aff’d in part, rev’d in part, 80 F.4th 641 (5th Cir. 2023), aff’d in part, rev’d in part, 83
F.4th 350 (5th Cir. 2023), and cert. granted sub nom. Murthy v. Missouri, 144 S. Ct. 7 (2023).
       64
            Chan Dep., supra note 2, at 16.
       65
            See id. at 18-19, 23-24.
       66
            Id. at 24-25, 27.
       67
            Id. at 109.



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information.”68 And he led a team of other FBI agents who regularly communicated with social

media companies about “disinformation.”69

       47.       Starting with logistical matters, Chan has personal knowledge of who attended the

industry working group meetings. At his deposition, Chan named the Executive Branch agencies

that were represented: the FBI, DOJ’s National Security Division, the Department of Homeland

Security’s Cybersecurity and Infrastructure Security Agency and Office of Intelligence and

Analysis, and the Office of the Director of National Intelligence. 70 He also listed the private

technology companies that were represented: Facebook, Microsoft, Google, Twitter, Yahoo!,

LinkedIn, Wikimedia Foundation, Apple, and Reddit. 71 Beyond knowing which technology

companies were represented at the meetings, Chan is familiar with the individuals who attended.

For example, he noted that the technology companies’ representatives who attended the meetings

were involved in enforcing their respective company’s terms of service, including those related

to content moderation.72

       48.       Chan also has personal knowledge of how frequently these meetings took place.

For example, according to Chan, during the 2018 election cycle, these meetings occurred on a

quarterly basis.73 During the first half of 2020 and 2022, these meetings also occurred quarterly,




       68
            Id. at 105.
       69
            Id. at 104-09.
       70
            Id. at 24, 171.
       71
            See id. at 23-24, 41-42.
       72
            Id. at 49-50.
       73
            Id. at 42.



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then progressed to monthly for the last half of those years, and finally there was one meeting the

week before the elections.74

       49.       Chan’s firsthand knowledge is not limited to mundane logistical issues. Rather,

because he participated in the meetings, he is personally familiar with the substance discussed.

       50.       For example, Chan said that during these meetings, technology companies “would

provide a strategic overview of the type of disinformation they were seeing on their respective

platforms.”75

       51.       Chan explained that the FBI, in turn, shared both strategic and tactical information

about Russia, China, and Iran.76 Chan himself provided tactical information to the technology

companies.77 He thus has firsthand knowledge—based on personal experience—of the methods

and timing of the FBI’s sharing of tactical information.

       52.       Beginning with the methods, Chan said that he would typically share tactical

information by sending a secure file, followed by “a heads-up email” so that the companies knew

to look for the link to the secure file.78 As for timing, Chan testified that the FBI would

“typically share information either right before or after one of [the] quarterly meetings” or when

the field office running the investigation deemed it appropriate. 79 According to Chan, he shared




       74
            See id. 19-20, 39-40.
       75
            Id. at 156.
       76
            Id. at 29-30, 31-32, 94-95.
       77
            Id. at 98-99.
       78
            See id.
       79
            Id. at 98.



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information approximately one to six times per month in 2020 and one to four times per month

in 2022.80

         53.       Chan’s firsthand knowledge goes beyond the information sharing itself: based on

what he has “observed” and what he has been told directly by the technology companies, he

knows what the technology companies do after they receive information from the FBI. 81

According to Chan, the companies “take the information that [the FBI] share[s], they validate it

through their own means,” and they “take whatever actions they deem appropriate.” 82 Those

actions, Chan said, include removing accounts or content from their platforms. 83 In fact, Chan

“will document” when the companies take action based on the information the FBI provides. 84

         D.        The Committee has uncovered additional information during its
                   investigation that highlights the need for Chan’s testimony

         54.       The Committee’s investigation began two months after Chan was deposed in

Missouri v. Biden. During its investigation, the Committee has uncovered information that

reinforces its need for Chan’s testimony. For example, Chan is uniquely positioned to shed light

on unanswered questions regarding the Executive Branch’s treatment of the Hunter Biden laptop

story.

         55.       On October 14, 2020, the New York Post published a story that included a

screenshot of an email to Hunter Biden that, according to the article, contradicted a statement



         80
              Id. at 100-01.
         81
              See id. at 32-33.
         82
              Id. at 33-34.
         83
              See, e.g., id. at 32-33, 35.
         84
              Id. at 102-03.



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that President Biden made when he was campaigning for office. 85 That email, the article

claimed, was “contained in a massive trove of data recovered from a laptop computer.” 86

       56.        The same day, after the New York Post story was published, the FBI met with

Facebook.87 Chan participated in that meeting.88 During that meeting, a Facebook employee

asked a question related to Hunter Biden, and an FBI official said “that the FBI had no

comment.”89 At his Missouri v. Biden deposition, Chan testified that, other than this meeting on

October 14, 2020, he was unaware of any other communications between the FBI and Facebook

about the Hunter Biden laptop story.90

       57.        But Facebook has produced documents to the Committee that suggest Chan

himself had additional conversations with Facebook employees about the Hunter Biden laptop

story after the October 14 meeting. For example, in an internal Facebook communication, a

Facebook employee said that he had spoken to Chan on October 15, 2020, about the Hunter

Biden laptop news story.91 The employee also noted that Chan had said “that he was up to speed

on the current state of the matter within the FBI.” 92



       85
           See Emma-Jo Morris & Gabrielle Fonrouge, Smoking-gun email reveals how Hunter
Biden introduced Ukrainian businessman to VP dad, N.Y. Post (Oct. 14, 2020, 5:00 AM),
https://perma.cc/7AZU-GC23.
       86
            Id.
       87
            See July 20, 2023 Letter, supra note 51, at 3.
       88
            See Chan Dep., supra note 2, at 212-14.
       89
            Id. at 213.
       90
            Id. at 233-34.
       91
            See Ex. D at 2.
       92
            Id.



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        58.        The Committee intends to ask Chan about this follow-up conversation (and any

others) so that it can better understand how the FBI may have influenced the way that Facebook

handled the Hunter Biden laptop story.

        59.        After all, Facebook’s CEO has explained the context in which Facebook analyzed

the New York Post story: “[t]he background here is that the FBI came to us—some folks on our

team—and was like ‘hey, just so you know, you should be on high alert. We thought there was a

lot of Russian propaganda in the 2016 election, we have it on notice that basically there’s about

to be some kind of dump that’s similar to that.’”93 Facebook determined the story “fit that

pattern” and restricted its users from sharing the article. 94

        60.        The Committee has also discovered during its investigation that the FBI

deliberated internally about what information related to the Hunter Biden laptop news story to

share with technology companies.95 It ultimately decided that it would say “no comment,”

which, according to testimony from Dehmlow, the Section Chief of the FBI’s Task Force, led to

the FBI’s answer to the Facebook employee’s question during the October 14, 2020 meeting. 96

The FBI made this decision despite possessing the laptop and having determined that it was

authentic and, thus, not the product of Russian propaganda. 97




        93
         See David Molloy, Zuckerberg tells Rogan FBI warning prompted Biden laptop story
censorship, BBC (Aug. 26, 2022, 1:41 EDT), https://perma.cc/RFK9-R7E6.
        94
             Id.
        95
             See July 20, 2023 Letter, supra note 51, at 3.
        96
             Id.
        97
             See, e.g., id. at 1, 3-4.



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       61.       The Committee intends to ask Chan about this decision, including if the FBI

considered whether and how its answer would affect the way the technology companies treated

the New York Post story, especially in light of its prior warnings to the companies about Russia.

Beyond that, the internal Facebook communication discussed above suggests that Chan may

have shared information about the Hunter Biden laptop story with a Facebook employee on

October 15, 2020, and the Committee intends to ask Chan about that topic, including how he

decided what information to share and whether he expected that information to influence

Facebook.

       62.       The FBI’s coordinated “no comment” response also raises the question of whether

the FBI handled other news stories in a similar way. As the primary contact between the FBI and

the technology companies, Chan is uniquely qualified to shed light on that and other topics.

       63.       For example, the Committee has also learned that Chan interacted with Stanford

University’s Election Integrity Partnership (Partnership), a group that may have worked with the

federal government to censor online speech before the 2020 election. 98 But Chan testified during

his deposition that he did not talk to anyone at the Partnership and thought he learned about the

Partnership simply by reading a news article. 99 The Committee intends to ask Chan about his

work with this Partnership.

       64.       In sum, the technology companies worked with the Executive Branch, and the

FBI and Chan in particular, as they made decisions about what content and accounts to allow on



       98
         Staff of the H. Judiciary Comm. & H. Select Subcomm. on the Weaponization of the
Federal Government, 118th Cong., Rep. on The Weaponization of “Disinformation” Pseudo-
Experts and Bureaucrats: How the Federal Government Partnered with Universities to Censor
Americans’ Political Speech 1, 64 (2023), https://perma.cc/UA43-QDFL.
       99
            See Chan Dep., supra note 2, at 56-58.



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their platforms. This coordination is the very issue that the Committee is investigating. Chan is

uniquely positioned to aid the Committee’s investigation because he had primary responsibility

for the FBI’s relationship with many of the relevant technology companies. Indeed, he was

personally responsible for sharing information with the companies, and he documented the

actions that companies took based on the information he provided. He thus has firsthand

knowledge, based on his own personal experience, that will allow the Committee to better

understand the nature of the relationship between the Executive Branch and these companies.

       65.     As a result, Chan’s appearance to provide testimony will constitute a critical piece

of the Committee’s investigation.

       E.      The Committee’s monthslong effort to interview Chan voluntarily

       66.     During the first month of the 118th Congress, on January 17, 2023, Chairman

Jordan wrote to FBI Director Wray to request testimony from specified FBI employees,

including Chan, and asked that the FBI make those employees available for, as relevant here,

voluntary transcribed interviews to aid the Committee’s oversight investigation. 100

       67.     A voluntary transcribed interview is one method that Congressional committees

use to obtain and document oral testimony from witnesses. Generally speaking, transcribed

interviews, while still on the record, are a less formal investigative method than depositions.

Unlike a person who is subpoenaed to appear for a deposition, witnesses asked to appear for a

transcribed interview have no legal obligation to do so.




       100
            Letter from Rep. Jim Jordan, Chairman, H. Comm. on the Judiciary, to Christopher A.
Wray, Director, FBI, at 1 (Jan. 17, 2023), https://perma.cc/5ZZQ-MWEB; id. at 3 (attaching
letter dated November 18, 2022, that listed Chan among the FBI employees from whom the
Committee would require testimony).



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       68.         The Committee allows Executive Branch employees who voluntarily appear for a

transcribed interview to do so with either a lawyer who the witness has personally retained

(personal counsel) or a lawyer who works for the witness’s employing agency (agency

counsel).101 The witness cannot, however, appear with both personal counsel and agency

counsel.102

       69.         Because a witness may be less forthcoming when a lawyer who represents his

employer is physically present in the room, 103 the Committee generally prefers that a witness

who appears for a voluntary transcribed interview do so with personal counsel. But as a courtesy

to the witness, the Committee allows an Executive Branch employee to appear for a voluntary

transcribed interview with agency counsel if the witness would prefer to avoid the expense of

hiring a personal lawyer.104 Once the witness retains personal counsel and incurs any related

legal expense, in the Committee’s view, there is no reason to permit agency counsel to also

accompany the already-represented witness. 105

       70.         The Committee notified the FBI near the beginning of the 118th Congress, in late

January 2023, that FBI employees appearing for a voluntary transcribed interview could do so




       101
          See, e.g., Letter from Rep. Jim Jordan, Chairman, H. Comm. on the Judiciary, to
Christopher A. Wray, Director, FBI, at 5 (Sept. 20, 2023) (attached as Ex. E).
       102
             Id.
       103
             See id.
       104
             See id.
       105
             See, e.g., id. at 4.



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with personal counsel or agency counsel, but not both. 106 This practice—which governs only

voluntary transcribed interviews—is not at issue in this case but, as discussed below, is relevant

to the Committee’s good-faith efforts to interview Chan voluntarily.

       71.     After the FBI failed to provide dates that Chan was available for an interview in

response to the January 17 letter, the Committee again, on March 3, 2023, wrote to the FBI and

requested that Chan appear voluntarily for a transcribed interview. 107

       72.     After the FBI failed to confirm that Chan would soon appear for an interview with

the Committee in response to the March 3 letter, the Committee repeated to FBI and DOJ

personnel, throughout April and May, its request to schedule a voluntary transcribed interview

with Chan.

       73.     Throughout the summer of 2023, the Committee continued its efforts to schedule

a voluntary transcribed interview with Chan. During those months, Committee staff sent DOJ

personnel multiple emails aimed at securing such an interview. 108




       106
           See Email from Stephen Castor, Gen. Couns., H. Comm. on the Judiciary, to Megan
Greer, Acting Unit Chief & Assistant Gen. Couns., Congressional Oversight & Investigations
Unit, FBI (Jan. 31, 2023, 11:51 AM) (attached as Ex. F at 1).
       107
          Letter from Rep. Jim Jordan, Chairman, H. Comm. on the Judiciary, to Christopher A.
Wray, Director, FBI, at 1 (Mar. 3, 2023) (attached as Ex. G).
       108
            See, e.g., Email from Betsy Ferguson, Deputy Gen. Couns., H. Comm. on the
Judiciary, to Megan Greer, Acting Unit Chief & Assistant Gen. Couns., Cong. Oversight &
Investigations Unit, FBI (July 5, 2023, 12:22 PM) (attached as Ex. H at 1); Email from Betsy
Ferguson, Deputy Gen. Couns., H. Comm. on the Judiciary, to Megan Greer, Acting Unit Chief
& Assistant Gen. Couns., Cong. Oversight & Investigations Unit, FBI (Aug. 8, 2023, 5:05 PM)
(attached as Ex. H at 1); Email from Caroline Nabity, Chief Counsel for Oversight, H. Comm. on
the Judiciary, to Megan Greer, Acting Unit Chief & Assistant Gen. Couns., Cong. Oversight &
Investigations Unit, FBI (Aug. 17, 2023, 1:08 PM) (attached as Ex. H at 1).



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       74.     Finally, on August 30, 2023—more than seven months after the Committee first

requested a transcribed interview with Chan—DOJ agreed to make Chan available for a

voluntary transcribed interview on September 15, 2023.109

       75.     Three days before Chan’s scheduled voluntary transcribed interview, on

September 12, 2023, Committee staff learned during a phone call with DOJ and FBI personnel

that Chan had retained personal counsel, who would accompany him to the interview.

       76.     During the same phone call, DOJ and FBI personnel requested that the Committee

make an exception to its longstanding protocol and allow Chan to appear with both personal

counsel and agency counsel. As discussed above, under the Committee’s protocol, Chan could

appear with one or the other, not both, and Committee staff told FBI personnel that an exception

to this practice was unlikely to be permitted.

       77.     Over the next two days, on September 13 and 14, 2023, Committee staff told both

DOJ personnel and Chan’s personal counsel that the Committee’s standard practice would apply,

and no exception would be made for Chan; he could bring agency counsel or personal counsel,

but not both.110

       78.     The day before the scheduled interview, Chan’s personal counsel told the

Committee that Chan would not participate unless both his personal counsel and agency counsel




       109
        Email from Mary Doocy, Assistant Gen. Couns., FBI, to Stephen Castor, Gen. Couns.,
H. Comm. on the Judiciary, et al. (Aug. 30, 2023, 4:00 PM) (attached as Ex. I).
       110
            See, e.g., Email from Betsy Ferguson, Deputy Gen. Couns., H. Comm. on the
Judiciary, to Matthew Hanson, Off. of Legis. Affs., DOJ (Sept. 14, 2023, 7:37 PM) (attached as
Ex. J at 2-3).



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could appear.111 Later that night, Chan’s personal counsel emailed Committee staff and said that

he would “be present on behalf of Mr. Chan tomorrow for the scheduled interview.” 112 That was

the full extent of the evening email from Chan’s personal counsel. 113 Committee staff

understood this message to mean that Chan had chosen to have personal counsel, not agency

counsel, represent him during the voluntary transcribed interview. 114

       79.        Roughly two hours later, at 10:07 p.m. on the night before the scheduled

interview, DOJ personnel emailed Committee staff and said they had “spoken with Mr. Chan and

his strong desire is to be represented by both personal and agency counsel tomorrow. We look

forward to seeing you at 10am.” 115

       80.        Committee staff responded at 11:12 p.m. and again reiterated that Chan did not

have the option to appear with both personal and agency counsel. 116 Staff explained that Chan

“ha[d] requested personal counsel,” and Committee staff “respectfully ask[ed] that [DOJ agency

counsel] not attempt to join.”117



       111
          Email from Lawrence Berger, Esq., Mahon & Berger, Esqs., to Caroline Nabity, Chief
Counsel for Oversight, H. Comm. on the Judiciary (Sept. 14, 2023, 12:03 PM) (attached as Ex. K
at 1).
       112
            Email from Lawrence Berger, Esq., Mahon & Berger, Esqs., to Betsy Ferguson,
Deputy Gen. Couns., H. Comm. on the Judiciary, et al. (Sept. 14, 2023, 7:57 PM) (attached as
Ex. J at 2).
       113
             See generally id.
       114
             See Ex. E at 3.
       115
         Email from Matthew Hanson, Off. of Legis. Affs., DOJ, to Betsy Ferguson, Deputy
Gen. Couns., H. Comm. on the Judiciary (Sept. 14, 2023, 10:07 PM) (attached as Ex. J at 2).
       116
         Email from Betsy Ferguson, Deputy Gen. Couns., H. Comm. on the Judiciary, to
Matthew Hanson, Off. of Legis Affs., DOJ (Sept. 14, 2023, 11:12 PM) (attached as Ex. J at 1-2).
       117
             Id. at 1.



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       81.     The next morning, an hour and twenty minutes before Chan’s scheduled

interview, DOJ personnel emailed Committee staff and said that Chan would appear at 10:00

a.m. with both personal counsel and agency counsel. 118 Committee staff again emphasized the

Committee’s practice and asked DOJ personnel not to cause an incident by entering the room

where the voluntary transcribed interview would take place.

       82.     Although every other FBI employee who has voluntarily appeared for a

transcribed interview with the Committee during the 118th Congress has complied with the

Committee’s practice,119 Chan refused to abide by the Committee’s policy and did not appear for

his voluntary transcribed interview scheduled for September 15, 2023, at 10:00 a.m.

       F.      The Committee subpoenas Chan and offers various accommodations to the
               Executive Branch

       83.     After Chan failed to appear for his voluntary transcribed interview on September

15, 2023, later that day, Chairman Jordan exercised his authority under the House and

Committee rules and subpoenaed Chan to appear for a deposition on September 21, 2023. 120

       84.     Chan has a legal obligation to comply with the Subpoena. 121




       118
         Email from Matthew Hanson, Off. of Legis Affs., DOJ, to Betsy Ferguson, Deputy
Gen. Couns., H. Comm. on the Judiciary (Sept. 15, 2023, 8:40 AM) (attached as Ex. J at 1).
       119
          See Letter from Rep. Jim Jordan, Chairman, H. Comm. on the Judiciary, to Lawrence
Berger, Esq., Mahon & Berger Esqs., at 2-3 (Oct. 3, 2023) (attached as Ex. L).
       120
          Subpoena from Rep. Jim Jordan, Chairman, H. Comm. on the Judiciary, to Elvis
Chan, Assistant Special Agent in Charge, S.F. Field Off., FBI (Sept. 15, 2023) (attached as Ex.
M).
       121
           See, e.g., Watkins v. United States, 354 U.S. 178, 187-88 (1957) (noting the
“unremitting obligation to respond to subpoenas, to respect the dignity of the Congress and its
committees and to testify fully with respect to matters within the province of proper
investigation”).



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       85.       The cover letter that accompanied the Subpoena explained the nature of the

Committee’s investigation (“oversight of how and to what extent the Executive Branch has

coerced and colluded with companies and other intermediaries to censor speech”), the legislative

reforms the Committee is considering (limiting the Executive Branch’s ability to work with

technology companies to censor content), and why the Committee believes that deposing Chan

will further its investigation (he is “the primary liaison between the [FBI Task Force] and social

media companies” and thus is “uniquely positioned to aid the Committee’s oversight”). 122

       86.       Under House Resolution 5, which was passed by the full House, and regulations

adopted by the House Committee on Rules (Rules Committee) that govern Committee

depositions, agency counsel could not attend Chan’s deposition.123 As explained below, the

decision of the 118th Congress to not allow agency counsel to attend depositions is consistent

with the House’s longstanding approach to this issue.

       87.       On September 19, 2023, DOJ wrote to Chairman Jordan and, relying on a 2019

opinion issued by DOJ’s Office of Legal Counsel (OLC), argued that “a subpoena that purports

to compel testimony on matters within the scope of an agency employees’ official duties,

including potentially privileged information, without the presence of agency counsel is without

legal effect and cannot constitutionally be enforced.”124 DOJ noted that it would make Chan




       122
             Sept. 15, 2023 Letter, supra note 58, at 1.
       123
           H. Res. 5, 118th Cong. § 3(k)(3) (2023); 169 Cong. Rec. H147 (daily ed. Jan. 10,
2023), https://perma.cc/ZUK8-CECR.
       124
         Letter from Christopher Dunham, Acting Assistant Director, FBI, to Rep. Jim Jordan,
Chairman, H. Comm. on the Judiciary, at 5 (Sept. 19, 2023) (citing Attempted Exclusion of
Agency Counsel from Congressional Depositions of Agency Employees, 43 Op. O.L.C. __, at *2,
*19 (May 23, 2019)) (attached as Ex. N).



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available for a voluntary transcribed interview, accompanied by agency and personal counsel,

after September 29, 2023, when Chan would return from official travel. 125

       88.         On September 20, 2023, Chairman Jordan wrote to the FBI, reiterating that “[t]he

Committee requires testimony from Mr. Chan to advance its oversight and inform potential

legislative reforms.”126 He explained that the Committee would postpone the deposition to

October 5, 2023, to accommodate Chan’s travel plans, 127 and the next day Chairman Jordan

issued a new Subpoena that required Chan to appear for a deposition on October 5, 2023. 128

Chan has a legal obligation to comply with the new Subpoena.

       89.         On October 2, 2023, Chan’s personal counsel emailed Committee staff a letter

dated September 29, 2023, explaining that Chan would appear for the deposition “only with the

assistance of both private counsel and agency counsel.” 129 The letter questioned whether the

Committee had the constitutional authority to exclude agency counsel from depositions, and it

quoted from and attached the same DOJ OLC opinion that DOJ relied on in its September 19

letter.130 The letter noted that Chan “may be asked to disclose confidential information,” and,




       125
             Id.
       126
             Ex. E at 6.
       127
             Id.
       128
             See generally Ex. A at 1.
       129
          Letter from Lawrence Berger, Esq., Mahon & Berger Esqs., to Rep. Jim Jordan,
Chairman, H. Comm. on the Judiciary, at 2 (Sept. 29, 2023) (emphasis omitted) (attached as Ex.
O); Email from Lawrence Berger, Esq., Mahon & Berger, Esqs., to Kiley Bidelman, Chief Clerk,
H. Comm. on the Judiciary, et al. (Oct. 2, 2023, 9:43 AM) (attached as Ex. P at 1-2).
       130
             See Ex. O at 2-4.



                                                  31
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according to Chan’s personal counsel, both he and Chan “may lack the expertise necessary to

protect privileged information wholly on [their] own.” 131

       90.        On October 3, 2023, Chairman Jordan wrote to Chan’s personal counsel and, once

more, explained the legal basis for the Committee’s investigation and explained how the

Subpoena furthers that investigation.132 Chairman Jordan emphasized that Chan, “[a]s the

primary liaison between the [FBI Task Force] and social media companies,” “is uniquely

positioned to aid the Committee’s oversight.”133 Chairman Jordan also set forth the Committee’s

legal basis for not allowing agency counsel to attend Chan’s deposition: the Constitution’s

Rulemaking Clause gives the House the authority to determine who may attend its depositions,

and the House has done just that.134 Indeed, House Resolution 5—which was adopted by the full

House this Congress—does not permit agency counsel to attend depositions. 135 Nor do the Rules

Committee’s regulations governing House depositions, which the Committee itself adopted at the

beginning of the 118th Congress. 136

       91.        Beyond setting out the legal basis for the House not permitting agency counsel to

attend depositions, Chairman Jordan also explained the rationale behind the House’s

longstanding rule. For example, Chairman Jordan pointed out that “agency counsel represents


       131
             Id. at 3.
       132
             See Ex. L at 1-2.
       133
           Id. at 2; see also id. (noting that internal Twitter communications, made public as part
of the Twitter Files, “further revealed and confirmed Mr. Chan’s role in the government’s online
censorship efforts”).
       134
             See id. at 5-6.
       135
             Id. at 6 (citing H. Res. 5, 118th Cong. § 3(k)(3) (2023)).
       136
             Id. (citing Judiciary Committee Rule XI).



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the agency’s interests,” not the witness’s personal interests, and thus “may pressure the witness

explicitly or implicitly to not disclose certain information relevant to the Committee’s

investigation.”137 Agency counsel may “create conflicts for the witness and impede the

Committee’s oversight,” Chairman Jordan noted, “especially … where, as here, the witness’s

individual interests and the agency’s institutional interests diverge.” 138 Finally, Chairman Jordan

noted that the Committee has uncovered evidence, as part of its investigation, that it believes

“appears to contradict several statements that Mr. Chan made” during his deposition in the

Missouri v. Biden litigation.139 Because Chan was represented by agency counsel there,

Chairman Jordan explained, “it is reasonable for the Committee to believe that Mr. Chan will be

more veracious outside the presence of agency counsel.” 140

       92.         The House’s decision not to allow agency counsel to attend depositions is a

legitimate exercise of its constitutional authority to adopt its own rules and procedures. 141 But

the Committee nonetheless offered “an extraordinary accommodation” to allow the Executive

Branch to protect its purported interests and avoid the need for the Committee to initiate

litigation: it offered “to allow agency counsel to remain physically present just outside the

Committee room in which the interview will occur and will permit [Chan and his personal

counsel] a recess at any time to consult with agency counsel about any matters that may arise




       137
             Id.
       138
             Id. at 7.
       139
             Id.
       140
             Id.
       141
             See id. at 5-6.



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during the deposition.”142 In the Committee’s view, this accommodation would allow Chan and

his personal counsel “to consult with agency counsel as necessary and alleviate[] the concerns

[Chan’s personal counsel] ha[d] articulated about proceeding without agency counsel.” 143

       93.         Later on October 3, 2023, DOJ wrote to Chairman Jordan and again argued that

the Subpoena is unenforceable because agency counsel would not be permitted to attend the

deposition.144 DOJ rejected the Committee’s proposed accommodation to allow agency counsel

to remain physically present just outside the room where the deposition would occur and permit

Chan to recess the deposition at any time to consult with agency counsel because, in DOJ’s view,

“it would not adequately ensure that the agency could make the necessary decisions to protect

privileged information during the course of the deposition.” 145 DOJ also said that it believed the

accommodation “would prevent the Executive Branch from ensuring that the testimony provided

was accurate, complete, and properly limited in scope.” 146 DOJ explained that it would only

“make Mr. Chan available for a voluntary transcribed interview, accompanied by agency and

personal counsel.”147

       94.         The next day, on October 4, 2023, Chairman Jordan wrote to DOJ and, as he had

done for Chan’s personal counsel, explained the Committee’s legal basis for not permitting




       142
             Id. at 8.
       143
             Id.
       144
         Letter from Carlos Felipe Uriarte, Assistant Att’y Gen., DOJ, to Rep. Jim Jordan,
Chairman, H. Comm. on the Judiciary, at 1 (Oct. 3, 2023) (attached as Ex. Q).
       145
             Id. at 2 n.4 (citation omitted).
       146
             Id. (citation omitted).
       147
             Id. at 1.



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agency counsel to attend depositions.148 He also emphasized that “[t]he Executive Branch

cannot dictate how Congress will carry out its core congressional functions,” 149 which is

precisely what it was trying to do here by refusing to abide by the House rule that does not

permit agency counsel to attend depositions.

       95.         Beyond explaining the legal basis for the House’s deposition rule and

emphasizing the separation-of-powers concerns that DOJ’s position raised, Chairman Jordan also

addressed DOJ’s concerns about purported privileged information. “Mr. Chan’s personal counsel

is an experienced litigator who has represented numerous federal law enforcement officers in

matters before Congress,” Chairman Jordan explained, and “Mr. Chan is a senior national

security official who currently holds a security clearance and accordingly has a personal

obligation at all times not to disclose classified information.” 150 For these reasons, “the

Committee is confident that Mr. Chan’s counsel can effectively advise his client as to the issues

[DOJ] identified.”151

       96.         Turning to DOJ’s willingness to engage in the accommodation process, Chairman

Jordan highlighted that DOJ had not offered an accommodation that it and other Executive

Branch agencies have previously offered in situations like this one. He explained that when

Congress interviews or deposes a government employee without agency counsel, the Executive

Branch “agency typically issues a letter of authorization to the witness’s personal counsel



       148
          Letter from Rep. Jim Jordan, Chairman, H. Comm. on the Judiciary, to Merrick B.
Garland, Att’y Gen., DOJ, at 2-3 (Oct. 4, 2023) (attached as Ex. R).
       149
             See id. at 4.
       150
             Id. at 3.
       151
             Id.



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detailing the scope of the authorized testimony and advising the personal counsel as to any

matters of potential privilege.”152 Here, however, the Executive Branch had not offered any such

letter and had not explained why such a letter could not be provided. 153

       97.         Later on October 4, 2023, Chan’s personal counsel notified Committee staff that

he had “received a letter from [DOJ] informing [him] that … Chan is directed not to appear

before the Committee, tomorrow, October 5, for a deposition, without [Chan’s] firm choice of

counsel, which includes agency counsel.”154 The email explained that Chan would not appear

for the October 5, 2023 deposition “if the Committee continues to insist that agency counsel be

precluded from attending the deposition.”155

       98.         On October 5, 2023, Chan did not appear for his deposition. Committee staff

opened the record, introduced exhibits, and then closed the record. 156

       99.         Chan thus violated his legal duty to comply with the Committee’s lawfully issued

Subpoena, and his defiance is obstructing the Committee’s investigation.

       100.        DOJ’s position that the Subpoena is unenforceable because it does not permit

agency counsel to attend has no merit. The Constitution empowers the House to adopt its own

rules. It has had a version of this deposition rule for decades, and numerous Executive Branch

employees have testified in Congressional depositions without agency counsel present.


       152
             Id.
       153
             See id. at 3-4.
       154
          Email from Lawrence Berger, Esq., Mahon & Berger, Esqs., to Kiley Bidelman, Chief
Clerk, H. Comm. on the Judiciary, et al. (Oct. 4, 2023, 7:35 PM) (attached as Ex. P at 1).
       155
             Id.
       156
           See generally Transcript of Elvis Chan, Assistant Special Agent in Charge, S.F. Field
Off., FBI (Oct. 5, 2023) (attached as Ex. S).



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        101.      Pursuant to House Rule II.8(b), BLAG voted to authorize the Judiciary

Committee to initiate this litigation.157 This House Leadership group “speaks for, and articulates

the institutional position of, the House in all litigation matters.” 158

III.    The House has delegated deposition authority to committees for over
        thirty years, and the relevant rules have never allowed agency counsel to attend
        depositions

        102.      The Constitution grants the House the authority to adopt its own rules and

procedures.159 Promulgating a rule that dictates who may and may not attend depositions is a

valid exercise of that authority.

        A.        Decades ago, the House began delegating deposition authority to committees
                  charged with investigating a discrete subject, and the relevant rules did not
                  allow agency counsel to attend depositions

        103.      In the 1980s and 1990s, the House delegated the authority to conduct depositions

to the Select Committee to Investigate Covert Arms Transactions with Iran and to the Task Force

of Members of the Foreign Affairs Committee to Investigate Certain Allegations Concerning the

Holding of Americans as Hostages by Iran in 1980. 160




        157
         BLAG is comprised of the Honorable Mike Johnson, Speaker of the House, the
Honorable Steve Scalise, Majority Leader, the Honorable Tom Emmer, Majority Whip, the
Honorable Hakeem Jeffries, Minority Leader, and the Honorable Katherine Clark, Minority
Whip. See House Rule II.8(b). The Speaker of the House, the Majority Leader, and the Majority
Whip voted to authorize this litigation; the Minority Leader and Minority Whip did not.
        158
              House Rule II.8(b).
        159
              U.S. Const. art. 1, § 5, cl. 2.
        160
         See, e.g., H. Res. 12, 100th Cong. §§ 1, 6 (1987) (attached as Ex. T); H. Res. 258,
102d Cong. §§ 1, 6 (1991) (attached as Ex. U).



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        104.      In providing this authority, the House permitted the select committee and the task

force to adopt rules regulating depositions, including regulations regarding who could attend. 161

        105.      In turn, the select committee and task force adopted rules that allowed personal

counsel to accompany witnesses to advise them of their rights but did not allow agency counsel

to attend.162

        106.      The rules alleviated the concern that the presence of agency counsel could hinder

investigations by pressuring a witness not to disclose information relevant to a committee’s

investigation, particularly when an investigation involved issues of agency corruption or abuse or

when the witness’s interests diverged from the agency’s interests.




        161
           See, e.g., Ex. T, H. Res. 12, § 2 (authorizing the select committee to adopt rules that
“may govern the conduct of the depositions, … including the persons present”); Ex. U, H. Res.
258, § 2 (same).
        162
           See, e.g., Rule 7.3, Rules of the Select Committee to Investigate Covert Arms
Transactions with Iran of the U.S. House of Representatives, 100th Cong. (Comm. Print 1987)
(“Witnesses may be accompanied at a deposition by personal counsel to advise them of their
rights …; observers or counsel for other persons or for the agencies under investigation may not
attend.” (emphasis added)) (attached as Ex. V); Rule 7.3, Rules of the Task Force to Investigate
Certain Allegations Concerning the Holding of American Hostages by Iran in 1990 of the U.S.
House of Representatives, 102d Cong. (Comm. Print 1992) (“Witnesses may be accompanied at
a deposition by counsel representing the witness to advise them of their rights …; observers or
counsel for other persons or for agencies may not attend.” (emphasis added)) (attached as Ex.
W).

        Years later, in 2014, the House established the Select Committee on the Events
Surrounding the 2012 Terrorist Attack in Benghazi and delegated it deposition authority, subject
to regulations issued by the Rules Committee, see H. Res. 567, 113th Cong. §§ 1, 4(c)(4)-(5)
(2014), https://perma.cc/ZB5U-Z4F7, and the Rules Committee issued regulations that said “[n]o
one may be present at depositions except … the witness[] and the witness’s counsel. Observers
or counsel for other persons, or for agencies under investigation, may not attend.” 160 Cong.
Rec. H4056 (daily ed. May 9, 2014) (emphasis added), https://perma.cc/5Y5G-27GW.




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       B.         The House delegated deposition authority to the Oversight Committee, and
                  the Oversight Committee continued the tradition of not allowing agency
                  counsel to attend

       107.       Beginning in 2007, the House delegated deposition authority to the House

Committee on Oversight and Accountability (Oversight Committee) and gave it the authority to

adopt its own rules “authorizing and regulating” depositions. 163

       108.       Under this authority, the Oversight Committee adopted a rule not allowing

“[o]bservers or counsel for other persons, or for agencies under investigation,” to attend

depositions.164

       109.       Since 2007, the House, under both Democratic and Republican leadership, has

continued to delegate general deposition authority to the Oversight Committee each Congress,

including this one, the 118th Congress.165

       110.       The Oversight Committee in each Congress has continued to adopt a rule that

does not permit agency counsel to attend depositions. 166


       163
          H. Res. 6, 110th Cong. § 502 (2007), https://perma.cc/6PJ6-8TD3; House Rule
X.4(c)(3)(A), 110th Cong. (2007), https://perma.cc/V4GZ-FDVH.
       164
          See Rule 22, Rules of the Committee on Oversight & Government Reform of the U.S.
House of Representatives, 110th Cong. (2007), https://perma.cc/FA5E-NJH8.
       165
           See House Rule X.4(c)(3)(A), 111th Cong. (2009), https://perma.cc/L2NY-7975;
House Rule X.4(c)(3)(A), 112th Cong. (2011) (attached as Ex. X); House Rule X.4(c)(3)(A),
113th Cong. (2013) (attached as Ex. Y); House Rule X.4(c)(3)(A), 114th Cong. (2015),
https://perma.cc/939M-WJMW; House Rule X.4(c)(3)(A), 115th Cong. (2017) (attached as Ex.
Z); House Rule X.4(c)(3)(A), 116th Cong. (2019), https://perma.cc/N76S-TM98; House Rule
X.4(c)(3)(A), 117th Cong. (2021), https://perma.cc/HH35-VJKY; House Rule X.4(c)(3)(A),
118th Cong. (2023).
       166
           See Rule 22, Rules of the Committee on Oversight & Government Reform of the U.S.
House of Representatives, 111th Cong. (Comm. Print 2009) (“Observers or counsel for other
persons, or for agencies under investigation, may not attend.”), https://perma.cc/5JVT-S8JT; Rule
15(d), Rules of the Committee on Oversight & Government Reform of the U.S. House of
Representatives, 112th Cong. (2011) (same), https://perma.cc/3F3E-5XQW; Rule 15(d), Rules of



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       C.        Next, the House delegated deposition authority to more standing committees,
                 including the Judiciary Committee, and the governing regulations and rules
                 still did not allow agency counsel to attend

       111.      In 2015, the House provided deposition authority to four more committees: the

Committees on Energy and Commerce; Financial Services; Science, Space, and Technology; and

Ways and Means.167 The authorizing resolution that delegated this authority said that depositions

“shall be subject to regulations issued by the chair of the Committee on Rules and printed in the

Congressional Record.”168

       112.      The Rules Committee then issued Regulations for the Use of Deposition

Authority (Deposition Regulations) stating that “[o]bservers or counsel for other persons, or for

agencies under investigation, may not attend” depositions.169




the Committee on Oversight & Government Reform of the U.S. House of Representatives, 113th
Cong. (2013) (same), https://perma.cc/WD3D-26VE; Rule 15(d), Rules of the Committee on
Oversight & Government Reform of the U.S. House of Representatives, 114th Cong. (2015)
(same), https://perma.cc/BX67-292H; Rule 15(e), Rules of the Committee on Oversight &
Government Reform of the U.S. House of Representatives, 115th Cong. (2017) (same),
https://perma.cc/5VLJ-4FYC; Rule 15(e), Rules of the Committee on Oversight & Reform of the
U.S. House of Representatives, 116th Cong. (2019) (same), https://perma.cc/2U7N-UXTQ; Rule
15(e), Rules of the Committee on Oversight & Reform of the U.S. House of Representatives,
117th Cong. (2021) (same), https://perma.cc/CHD7-NTJ9; Rule 15(e), Rules of the Committee
on Oversight & Accountability of the U.S. House of Representatives, 118th Cong. (2023) (“No
one may be present at depositions except members, Committee staff designated by the Chair of
the Committee or the Ranking Minority Member of the Committee, an official reporter, the
witness, and the witness’s two designated attorneys. Other persons, including government
agency personnel, may not attend.”), https://perma.cc/3PRQ-GDJW.
       167
             H. Res. 5, 114th Cong. § 3(b) (2015), https://perma.cc/G85G-QPG9.
       168
             Id. § 3(b)(2).
       169
             161 Cong. Rec. E21 (daily ed. Jan. 7, 2015), https://perma.cc/UF2U-DQ94.



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       113.      In 2017, the House delegated deposition authority to all standing committees,

except for the Committee on House Administration and the Rules Committee. 170 The House has

continued to delegate general deposition authority (subject to the Deposition Regulations) to

these committees and the Committee on House Administration, under Democratic and

Republican leadership, each Congress since 2017, including this one (the 118th Congress). 171

       114.      During each Congress from 2017 to 2023, the Deposition Regulations adopted by

the Rules Committee have not permitted government agency counsel to attend depositions. 172

       D.        In the current Congress, the full House adopted a provision as part of its
                 rules package that does not permit agency counsel to attend depositions

       115.      In the 118th Congress, rather than relying solely on the Rules Committee’s

Deposition Regulations, the full House adopted language as part of its rules package that

expressly prevents agency counsel from attending depositions. 173

       116.      Additionally, in the 118th Congress, the Rules Committee again promulgated

Deposition Regulations that do not allow agency counsel to attend depositions. 174 The Judiciary



       170
             H. Res. 5, 115th Cong. § 3(b) (2017), https://perma.cc/45K6-PTF3.
       171
         H. Res. 6, 116th Cong. § 103(a) (2019), https://perma.cc/V5X8-GQ5C; H. Res. 8,
117th Cong. § 3(b) (2021), https://perma.cc/HU3Y-TDMS; H. Res. 5, 118th Cong. § 3(k)(1)-(2)
(2023).
       172
            163 Cong. Rec. H536 (daily ed. Jan. 13, 2017), https://perma.cc/52VG-3MMB; 165
Cong. Rec. H1216 (daily ed. Jan. 25, 2019), https://perma.cc/VJ8J-N9TN; 167 Cong. Rec. H41
(daily ed. Jan. 4, 2021), https://perma.cc/4VVX-N7J3; 169 Cong. Rec. H147.
       173
            H. Res. 5, 118th Cong. § 3(k)(3) (2023) (“Deponents may be accompanied at a
deposition by two designated personal, nongovernmental attorneys to advise them of their rights.
Only members, committee staff designated by the chair or ranking minority member, an official
reporter, the witness, and the witness’s two designated attorneys are permitted to attend. Other
persons, including government agency personnel, may not attend.”).
       174
             169 Cong. Rec. H147.



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Committee’s Rules also specifically note that the Deposition Regulations govern its

depositions.175

       117.       Thus, in the 118th Congress, language adopted by the full House, the Rules

Committee’s Deposition Regulations, and the Judiciary Committee’s Rules all make clear that

the longstanding rule continues to apply, and agency counsel are not permitted to attend

depositions.

       E.         The House, under both Democratic and Republican control, has concluded
                  that the presence of agency counsel in depositions could interfere with
                  investigations

       118.       Under both Democratic and Republican leadership, the House has concluded that

agency counsel’s presence in depositions could interfere with investigations, especially when the

investigation involves issues of agency corruption or abuse. 176

       119.       A committee’s right to exclude agency counsel is especially important when a

witness’s personal interests depart from the interests of the agency employing the witness. A

witness may be less willing to divulge information that reflects poorly on his employing agency

if the agency’s lawyer is in the room.

       120.       Here, this interest is not abstract, either. The Committee has uncovered

information through its investigation that, in its view, “appears to contradict several statements

that Mr. Chan made” during his deposition in Missouri v. Biden, where Chan was represented by




       175
             Judiciary Committee Rule XI (2023).
       176
           See, e.g., H. Rep. No. 116-125, at 33 (2019) (report from the Oversight Committee,
which was under Democratic control), https://perma.cc/2NQH-KUXP; Oversight Comm.
Democrats, Committee Depositions in the House of Representatives: Longstanding Republican
and Democratic Practice of Excluding Agency Counsel 4-5 (last visited Feb. 2, 2024),
https://perma.cc/3ZS3-4EEX (Longstanding Practice).



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agency counsel.177 The Committee thus believes that Chan may “be more veracious outside the

presence of agency counsel.”178

       121.        Beyond protecting the integrity of investigations, excluding agency counsel also

helps protect witnesses from the possibility of threats, abuse, or coercion from their

employers.179

       122.        The House rule thus aims to protect agency witnesses who may share information

that is damaging to their employing agency just as federal law aims to protect whistleblowers

who disclose information that could reflect poorly on their employing agency. 180

       F.          House committees have deposed at least 176 Executive Branch employees
                   without agency counsel

       123.        More than 175 Executive Branch witnesses have appeared for depositions—under

both Democratic and Republican control of the House—without agency counsel present. 181

       124.        Indeed, despite DOJ’s current position, the OLC opinion on which it relies was

not published until 2019—decades after Congress’s practice of excluding agency counsel began.




       177
             Ex. R at 3.
       178
             Id.
       179
         See H. Rep. No. 116-125, at 33; Longstanding Practice, supra note 176, at 1; Morton
Rosenberg, When Congress Comes Calling: A Study on the Principles, Practices, and
Pragmatics of Legislative Inquiry 38 (2017), https://perma.cc/HM9G-87E9.
       180
            Cf. 5 U.S.C. § 2302(b)(8)(C) (“Any employee who has authority to take, direct others
to take, recommend, or approve any personnel action, shall not, with respect to such authority …
take or fail to take, or threaten to take or fail to take, a personnel action with respect to any
employee or applicant for employment because of … any disclosure to Congress (including any
committee of Congress) ….”).
       181
             See generally Longstanding Practice, supra note 176.



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        125.      As Chairman Jordan explained to the FBI here, agencies typically issue an

authorization letter to the witness’s personal counsel that sets out the scope of the authorized

testimony and advises on matters that may be privileged. 182 However, neither DOJ nor the FBI

has explained why it has not followed that approach here. 183

                                   SPECIFIC CLAIM FOR RELIEF

                                                COUNT I

        126.      The Judiciary Committee incorporates by reference and realleges the preceding

paragraphs, as if set forth fully here.

        127.      The Subpoena was duly authorized, issued, and served pursuant to the Judiciary

Committee’s powers under Article I of the Constitution of the United States.

        128.      The Subpoena required Chan to appear to testify at a deposition before the House

Judiciary Committee on October 5, 2023, yet Chan did not appear as required.

        129.      The Judiciary Committee has attempted to make reasonable accommodations for

Chan’s testimony, but those efforts are at an impasse, and Chan continues to refuse to appear for

his deposition.

        130.      There is no lawful basis for Chan’s refusal to appear before the Judiciary

Committee for his deposition.

        131.      Chan has violated and continues to violate his legal obligations by refusing to

appear before the Judiciary Committee as required by the Subpoena, and by refusing to answer

questions when there has been no assertion of privilege by the Executive Branch.




        182
              Ex. R at 3.
        183
              Id. at 3-4.



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       132.      As a result, the Judiciary Committee has been, and will continue to be, injured by

Chan’s actions.

                                     PRAYER FOR RELIEF

       WHEREFORE, the Judiciary Committee respectfully prays that this Court:

       A.        Pursuant to 28 U.S.C. §§ 2201(a) and 2202, enter declaratory and injunctive relief

as follows:

                 1.     Declare that Chan’s refusal to appear before the Committee in response to

the Subpoena lacks legal justification; and

                 2.     Issue an injunction ordering Chan to appear and testify immediately before

the Committee.

       B.        Retain jurisdiction to review any disputes that may arise over compliance with the

Court’s order.

       C.        Grant the Committee such other and further relief as may be just and proper under

the circumstances.




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                                             Respectfully submitted,

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February 6, 2024




       184
            Attorneys for the Office of General Counsel for the U.S. House of Representatives are
“entitled, for the purpose of performing the counsel’s functions, to enter an appearance in any
proceeding before any court of the United States or of any State or political subdivision thereof
without compliance with any requirements for admission to practice before such court.” 2
U.S.C. § 5571(a).



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